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OAO 245B      NNY(Rev. 09/12) Judgment in a Criminal Case
              Sheet 1



                                       UNITED STATES DISTRICT COURT
                         Northern                                  District of                                 New York
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             V.

                     John L. Dooley                                       Case Number:                      DNYN112CR000380-001
                                                                          USM Number:              19925-052
                                                                          AFPD George E. Baird, Esq., 39 North Pearl Street, 5th Floor,
                                                                          Albany, NY 12207    (518) 436-1850
                                                                          Defendant’s Attorney
THE DEFENDANT:
G pleaded guilty to count(s)
G pleaded nolo contendere to count(s)
   which was accepted by the court.
X was found guilty on count(s)          1, 2 and 3 of the three-count Indictment on October 10, 2013
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
18 U.S.C. §§ 2422(b) &            Attempted Coercion and Enticement of a Minor                                May 2012                    1
2426(a)
18 U.S.C. §§ 2251(a)& (e)     Attempted Production of Child Pornography                            May 2012                  2
18 U.S.C. § 2260A             Commission of a Felony Offense Involving a Minor by a Person         May 2012                  3
                              Required to Register as a Sex Offender
18 U.S.C. §§ 2242 & 2251      Forfeiture Allegation
       The defendant is sentenced as provided in pages 2 through        6      of this judgment. The sentence is imposed in accordance
with 18 U.S.C. § 3553 and the Sentencing Guidelines.
G The defendant has been found not guilty on count(s)
G Count(s)                                                  G is   G are dismissed on the motion of the United States.
        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          August 12, 2014
                                                                          Date of Imposition of Judgment




                                                                          August 19, 2014
ABR                                                                       Date
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              Sheet 2 — Imprisonment

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                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

          420 months on counts 1 and 2, with such counts to run concurrently with each other, and 120 months on count 3,
          with such count to run consecutively to counts 1 and 2, for a total term of imprisonment of 540 months.


     X    The court makes the following recommendations to the Bureau of Prisons:

          The defendant participate in sex offender treatment with the Bureau of Prisons, as well as alcohol treatment, and
          that he be designated to a facility as close to Rochester, NY as possible.


     X    The defendant is remanded to the custody of the United States Marshal.

     G The defendant shall surrender to the United States Marshal for this district:
          G      at                                   G a.m.           G p m.        on                                            .

          G      as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G      before 2 p.m. on                                                .

          G      as notified by the United States Marshal.

          G      as notified by the Probation or Pretrial Services Office.


                                                                          RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                                 to

at                                                          , with a certified copy of this judgment.



                                                                                                           UNITED STATES MARSHAL


                                                                                  By
                                                                                                        DEPUTY UNITED STATES MARSHAL
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              Sheet 3 — Supervised Release
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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
            Life on each of counts 1, 2 and 3 to run concurrently with each other
     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future substance
         abuse. (Check, if applicable.)

x        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
x        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Deselect, if inapplicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student,
         as directed by the probation officer. (Check, if applicable.)

G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                                STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;

    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment, or if such prior
          notification is not possible, then within five days after such change;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, import, or manufacture any and
          all controlled substance and all controlled substance analogues, as defined in 21 U.S.C. § 802, and any paraphernalia related to any
          controlled substances, except that possession and use of a controlled substance properly prescribed by a licensed medical practitioner
          is permitted;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement;
 14)      the defendant shall not possess a firearm, destructive device, or any other dangerous weapon;
 15)      the defendant shall provide the probation officer with access to any requested financial information; and
 16)      the defendant shall submit his or her person, and any property, house, residence, vehicle, papers, effects, computer, electronic
          communications devices, and any data storage devices or media, to search at any time, with or without a warrant, by any federal
          probation officer, or any other law enforcement officer from whom the Probation Office has requested assistance, with reasonable
          suspicion concerning a violation of a condition of probation or supervised release or unlawful conduct by the defendant. Any items
          seized may be removed to the Probation Office or to the office of their designee for a more thorough examination.
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            Sheet 3C — Supervised Release
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                                     SPECIAL CONDITIONS OF SUPERVISION

1.    The defendant shall contribute to the cost of any evaluation, testing, treatment and/or monitoring services rendered in an
      amount to be determined by the probation officer based on his ability to pay and the availability of third party payments.
2.    The defendant shall refrain from the use of alcohol and be subject to alcohol testing and treatment while under supervision.
3.    The defendant shall not have any direct contact with a person under the age of 18 unless it is supervised by a person
      approved of by the probation officer. The defendant shall not have indirect contact with a person under the age of 18 through
      another person or through a device (including a telephone, computer, radio, or other means) unless it is supervised by a
      person approved of by the probation officer. The defendant shall reasonably avoid and remove himself from situations in
      which the defendant has any other form of contact with a minor.
4.    The defendant shall not be in any area in which persons under the age of 18 are likely to congregate, such as school grounds,
      child care centers, or playgrounds, without the permission of the probation officer.
5.    The defendant shall register with the state sex offender registry agency in any state where the defendant resides, is employed,
      carries on a vocation or is a student.
6.    The defendant shall participate in a mental health program, which will include, but will not be limited to, participation in
      a treatment program for sexual disorders. The program shall be approved by the United States Probation Office.
7.    The defendant shall not use or possess any computer or any internet capable device unless the defendant participates in the
      Computer and Internet Monitoring Program (CIMP), or unless authorized by the Court or the U.S. Probation Office. If placed
      in the CIMP the defendant will comply with all of the rules of the program and pay the costs associated with the program.
      The U.S. Probation Office may use and/or install any hardware or software system that is needed to monitor the defendant’s
      use of a computer or internet capable device. The defendant shall permit the U.S. Probation Office to conduct periodic,
      unannounced examinations of any computer equipment, including any data storage device, and internet capable device the
      defendant uses or possesses. This equipment may be removed by the U.S. Probation Office or their designee for a more
      thorough examination. The defendant may be limited to possessing one personal internet capable device, to facilitate the U.S.
      Probation Office’s ability to effectively monitor his internet related activities.
8.    If the defendant’s employment requires the use of a computer, the defendant may use a computer in connection with the
      employment approved by the probation officer, at the defendant’s place of employment, provided the defendant notifies his
      employer of: (1) the nature of his conviction; and (2) the fact that the defendant’s conviction was facilitated by the use of
      the computer. The Probation Office must confirm the defendant’s compliance with this notification requirement.
9.    While in treatment and for the remainder of the term of supervision following completion of treatment, the defendant shall
      not view, possess, own, subscribe to or purchase any material, including pictures, videotapes, films, magazines, books,
      telephone services, electronic media, computer programs, or computer services that depict sexually explicit conduct, as
      defined in 18 U.S.C. § 2256(2).
10. The defendant’s supervision may include examinations using a polygraph, computerized voice stress analyzer, or other
    similar device to obtain information necessary for supervision, case monitoring, and treatment. The defendant shall answer
    the questions posed during the examination, subject to his right to challenge in a court of law the use of such statements as
    violations of his Fifth Amendment rights. In this regard, the defendant shall be deemed to have not waived his Fifth
    Amendment rights. The results of any examinations shall be disclosed to the United States Probation Office and the Court,
    but shall not be further disclosed without the approval of the Court.

     DEFENDANT’S ACKNOWLEDGMENT OF APPLICABLE CONDITIONS OF SUPERVISION

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.
The conditions of supervision have been read to me. I fully understand the conditions and have been provided a copy
of them.


                         Defendant                                                       Date



                         U.S. Probation Officer/Designated Witness                       Date
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          Sheet 5 — Criminal Monetary Penalties
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                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                   Assessment                                       Fine                                    Restitution
TOTALS           $ 300.00                                         $ 0                                     $ 0


G The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will
     be entered after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                      Total Loss*                    Restitution Ordered                  Priority or Percentage




TOTALS                             $                                       $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the fifteenth
     day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to penalties for
     delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the         G fine      G restitution.
     G the interest requirement for the        G fine        G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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          Sheet 6 — Schedule of Payments

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                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X In full immediately; or
B    G Lump sum payment of $                              due immediately, balance due

          G not later than                                    , or
          G in accordance with G D,            G   E,     G     F, or      G G below; or
C    G Payment to begin immediately (may be combined with G D,                    G E, or         G G below); or
D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

E    G Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

F    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

G    G Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to Clerk, U.S. District Court, Federal Bldg., 100 S. Clinton Street, P.O. Box 7367, Syracuse, N.Y.
13261-7367, unless otherwise directed by the court, the probation officer, or the United States attorney. If a victim cannot be located, the
restitution paid to the Clerk of the Court for that victim shall be sent to the Treasury, to be retrieved if and when the victim is located.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

G Joint and Several
     G Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
          corresponding payee, if appropriate.


     G The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or part
          of the restitution ordered herein and may order such payment in the future.

G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
X    The defendant shall forfeit the defendant’s interest in the following property to the United States:

     The property outlined in the Preliminary Order of Forfeiture.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,(5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
